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                     IN THE DISTRICT COURT OF THE UNITED STATES
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION


UNITED STATES OF AMERICA,

                        Plaintiff,

                v.                                   MISC No.(Q%                 34c(6-Ccfn
LOWE'S HOME IMPROVEMENT,
TROY,AL,

                       Garnishee,

DEVON,TUCKER,

                       Defendant.


                                     WRIT OF GARNISHMENT

GREETINGS TO:          LOWE'S HOME IMPROVEMENT
                       1421 US Highway 231 South
                       Troy, AL 36081

       An Application for a Writ of Garnishment against the property of DEVON TUCKER,

defendant, has been filed with this Court. A Judgment has been entered against the above-named

defendant in the amount of $13,362.00, plus costs and interest. The balance due on the Judgment

as of August 15, 2019 is $12,994.61.

       You are required by law to answer in writing, under oath, within ten (10) days, whether-

or-not you have in your custody, control or possession of any property owned by the debtor,

including non-exempt, disposal earnings.

       Please state whether-or-not you anticipate paying the debtor any future payments and

whether such payments are weekly, bi-weekly or monthly.

       You must file the original written Answer to this Writ within ten (10) days of your
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receipt of this Writ with the United States District Clerk at: Clerk, U. S. District Court,

Middle District of Alabama,One Church Street, Suite B-110, Montgomery,Alabama 36104.

Additionally, you are required by law to serve a copy of your Answer upon the debtor at:

127 Montgomery Street, Troy, Alabama, 36081 and upon the United States Attorney, Post

Office Box 197, Montgomery, Alabama 36101.

       Under the law,there is property, which is exempt from this Writ ofGarnishment. Property

which is exempt and which is not subject to this Order is listed on the attached Debt Collection

Notice.

       Pursuant to Title 15 U.S.C.§1674, a Garnishee is prohibited from discharging a defendant

from employment by-reason-of the fact that his earnings have been subject to garnishment.

       If you fail to answer this Writ or to withhold property in accordance with this Writ, the

United States of America may petition the Court for an Order requiring you to appear before the

Court. If you fail to appear or do appear and fail to show good cause why you failed to comply

with this Writ,the Court may enter a Judgment against you for the value ofthe debtor's non-exempt

property. It is unlawful to pay or deliver to the defendant any item attached by this Writ.

                                                      Debra P. Mackett
                                             UNITED STATES D STRICT CLERK
                                                                                 alyClee)
                                                     S.- J- /1
